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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF RHODE ISLAND

  Gian Mattiello
  Plaintiff,
  v.                                          Case No.: 1:21−cv−00489−JJM−PAS

  City of Cranston, et al.
  Defendant.

                              PRETRIAL SCHEDULING ORDER

          Pursuant to Rule 16 of the Federal Rules of Civil Procedure, it is ordered that:
                1.   All factual discovery shall be completed by March 1, 2023

                2.   Plaintiff shall make its expert witness disclosures as required by Fed. R.
                     Civ. P. 26(a)(2) by March 31, 2023

                3.   Defendant shall make its expert witness disclosures as required by Fed.
                     R. Civ. P. 26(a)(2) by May 1, 2023

                4.   All expert discovery shall be completed by May 31, 2023

                5.   Dispositive motions shall be filed by June 30, 2023


          The parties shall add any known additional defendants or third−party defendants
  within sixty (60) days of the date of this order.
          No discovery motions shall be filed until after the party in good faith tries to
  resolve the matter with opposing counsel. If that does not resolve the dispute, the party
  must first have an informal conference with the Court, which can be arranged by
  contacting the judge's Case Manager at the direct extension listed below.
          It is so ordered.

  June 30, 2022                                  By the Court:
                                                 /s/ John J. McConnell, Jr.
                                                 United States Chief Judge



  U.S. District Court
  for the District of Rhode Island
  One Exchange Terrace
  Providence, RI 02903
  Case Manager: Ryan Jackson 401−752−7213
